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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                    CRIMINAL NO. 20-143
 VERSUS                                                      SECTION "A"
 DONALD PETER AUZINE, JR.                                    VIOLATION: 18:1349, 1347, 1956,
                                                                        1957, 2


                                   RE-NOTICE OF SENTENCING
                                     (previously set for 9/27/)


Take notice that this criminal proceeding is reset for Sentencing on October 25, 2022, at
10: a.m., before Judge Jay C. Zainey, Ctrm C467, 500 Poydras Street, New Orleans, LA.

      IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING.

PERSONS ON BOND MUST REPORT TO THE DEPUTY U. S. MARSHAL IMMEDIATELY OUTSIDE
THE COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.

Date: September26, 2022                          CAROL L. MICHEL, CLERK
                                                  by: Cherie Charles, Deputy &OHUN

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TO:

‫ض‬DONALD AUZINE, JR. (bond)                       ‫ ض‬AUSA: Kathryn McHugh
‫ض‬Ralph Whalen, Counsel
                                                  ‫ ض‬U.S. Probation Office

                                                  ‫ ض‬U.S. Probation Office - Pretrial Services Unit

                                                  ‫ ض‬U.S. Marshal

If you change address,                               JUDGE
notify clerk of court by
phone, (504) 589-7683                             ‫ ض‬MAGISTRATE JUDGE

                                                  ‫ ض‬DOD - C. Prieto
